                  UNITED STATES COURT OF INTERNATIONAL TRADE


                                                     )
 JIANGSU SENMAO BAMBOO AND WOOD                      )
 INDUSTRY CO., LTD., ET AL                           )    Before: Timothy M. Reif, Judge
                                                     )
                          Plaintiffs,                )
                                                     )    Consol. Ct. No. 20-003885
        v.                                           )
                                                     )
 UNITED STATES,                                      )
                                                     )
                          Defendant,
                                                     )
                                                     )
 And
                                                     )
 AMERICAN MANUFACTURERS OF                           )
 MULTILAYERED WOOD FLOORING,                         )
                                                     )
                          Defendant-Intervenors.     )
                                                     )
                                                     )
                                                     )




                           PLAINTIFFS’ RULE 56.2 MOTION
                      FOR JUDGMENT ON THE AGENCY RECORD

       Consolidated Plaintiffs Struxtur, Inc. (“Struxtur”), and Evolutions Flooring, Inc.

(“Evolutions”) hereby move pursuant to Rule 56.2 of this Court for Judgment upon the Agency

Record and for remand of the U.S. Department of Commerce’s (“Commerce”) decision in

Multilayered Wood Flooring From the People’s Republic of China: Final Results and Partial

Rescission of Countervailing Duty Administrative Review; 2017 (November 17, 2020) (“Final

Results”).


       Pursuant to the Court’s Scheduling Order dated March 16, 2021 (Docket Item #39), this

motion is timely filed.
       In support of this motion, Struxtur and Evolutions hereby incorporate herein by reference

and in full the arguments and the requests for relief as presented in the motions and briefs filed

by all other plaintiffs and plaintiff-intervenors in this proceeding.


                                               Respectfully submitted,




                                                /s/ Gregory S. McCue
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                                               Telephone: (202) 429-6421
                                               Counsel to Struxtur, Inc., and
                                               Evolutions Flooring, Inc.
May 14, 2020
                            CERTIFICATE OF COMPLIANCE


        This brief has been prepared utilizing Microsoft Word and a proportionally spaced
typeface (12-point Times New Roman). In accordance with this Court’s Chambers Procedures
and Scheduling Order, the undersigned certifies that this brief complies with applicable word
limitations. Specifically, excluding exempted portions per the Chambers Procedures, and based
on the word count feature in Microsoft Word, this brief contains 190 words.



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 AMERICAN MANUFACTURERS OF                            )
 MULTILAYERED WOOD FLOORING,                          )
                                                      )
                        Defendant-Intervenors.        )
                                                      )
                                                      )
                                                      )




                                             ORDER

       Upon consideration of the Motion for Judgment on the Administrative Record filed by

Consolidated Plaintiffs Struxtur, Inc., and Evolutions Flooring, Inc., and upon all other papers

and proceedings herein, it is hereby

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the U.S. Department of Commerce’s (“Commerce”) final results of the

2017 administrative review of the countervailing duty order on Multilayered Wood Flooring

from the People’s Republic of China published as Multilayered Wood Flooring from the

People’s Republic of China: Final Results and Partial Rescission of Countervailing Duty

Administrative Review; 2017, 85 Fed. Reg. 76011 (Dep’t Commerce Nov. 27, 2020) are not
supported by substantial evidence on the record and are otherwise not in accordance with law;

and it is further

        ORDERED that Commerce shall issue a revised determination in accordance with the

decision of this Court.

        SO ORDERED.



                                                           ____________________________
                                                           Timothy M. Reif, Judge

Dated: __________________, 2021
       New York, New York
